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     8                        UNITED STATES DISTRICT COURT
     9                      CENTRAL DISTRICT OF CALIFORNIA
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    11    NATIONAL ASSOCIATION OF                Case No. CV 16-609-GW-JEMx
          AFRICAN AMERICAN-OWNED
    12    MEDIA, et al.,
    13                                             ORDER TO DISMISS WITH
                            Plaintiffs,            PREJUDICE
    14         v.
    15
          CHARTER COMMUNICATIONS,
    16    INC., et al.,
    17                      Defendants.
    18

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    20         Based upon the stipulation between the parties and their respective counsel,
    21 it is hereby ORDERED that this action is dismissed with prejudice in its entirety.

    22 Each party will bear its own attorneys’ fees and expenses.

    23         IT IS SO ORDERED.
    24
         Dated: February 4, 2021
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    26                                         _________________________________
                                               HON. GEORGE H. WU,
    27
                                               UNITED STATES DISTRICT JUDGE
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